AO 245B              Case
              (Rev. 09/08)    3:09-cr-00315-DRD
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              Sheet 1



                                       UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO
                                                )
            UNITED STATES OF AMERICA            )   JUDGMENT IN A CRIMINAL CASE
                       v.                       )
           ANDRES ALVARADO-MARTINEZ             )
                                                    Case Number:       3:09-CR-315-030 (DRD)
                                                )
                                                )   USM Number:        33956-069
                                                )
                                                )   Javier A. Morales-Ramos, Esq.
                                                                                     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       One (1)

□ pleaded nolo contendere to count(s)
   which was accepted by the court.

□ was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                           Offense Ended              Count
21 U.S.C. §§ 841(a)(1) 846,      Conspiracy to posses with intent to distribute 5 Kilograms of cocaine          09/24/09                One (1)
and 860                          within 1,000 feet of a protected location.




       The defendant is sentenced as provided in pages 2 through                 4          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on count(s)
X Count(s)      Remaining                               □ is      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          May 13, 2011
                                                                          Date of Imposition of Judgment



                                                                          S/ Daniel R. Domínguez
                                                                          Signature of Judge




                                                                          Daniel R. Domínguez, U.S. District Judge
                                                                          Name and Title of Judge


                                                                          May 13, 2011
                                                                          Date
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            Sheet 2 — Imprisonment
                                                                                                 Judgment — Page     2    of   4
DEFENDANT:                  ANDRES ALVARADO-MARTINEZ
CASE NUMBER:                3:09-CR-315-030 (DRD)


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     Twenty-eight (28) months. All time served is to be credited to this sentence.




    X     The court makes the following recommendations to the Bureau of Prisons:
          It is recommended that this defendant serve his remaining sentence at MDC-Guaynabo, Puerto Rico.



    X     The defendant is remanded to the custody of the United States M arshal.


    □     The defendant shall surrender to the United States M arshal for this district:

          □   at

          □   as notified by the United States M arshal.

    □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □   before 2 p.m. on

          □   as notified by the United States M arshal.

          □   as notified by the Probation or Pretrial Services Office.



                                                              RETURN
I have executed this judgment as follows:




          Defendant delivered on

a




                                                                      By
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             Sheet 3 — Supervised Release
                                                                                                    Judgment—Page      3      of      4
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CASE NUMBER:                3:09-CR-315-030 (DRD)
                                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :              SIX (6) YEARS.
Under the following terms and conditions.


        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

□      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
□      et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
       or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

□      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
          days of each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
          other acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
          of any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
          the permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
          confirm the defendant’s compliance with such notification requirement.
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           Sheet 3A — Supervised Release
                                                                                            Judgment—Page     3a    of       4
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                                 ADDITIONAL SUPERVISED RELEASE TERMS

1. The defendant shall not unlawfully possess controlled substances.


2.The defendant shall refrain from possessing firearms, destructive devices, and other dangerous weapons.


3. The defendant shall refrain from the unlawful use of controlled substances, and submit to a drug test within fifteen (15) days
of release; thereafter submit to random drug test, no less than (3) samples during the supervision period and not to exceed 104
samples per year under the coordination of the U.S. Probation Officer. If any such samples detect substance abuse, the defendant
shall participate in an in-patient or out-patient substance abuse treatment program, for evaluation and/or treatment, as arranged
by the U.S. Probation Officer until duly discharged. The defendant is required to contribute to the cost of services rendered (co-
payment) in an amount arranged by the U.S. Probation Officer based on the ability to pay or availability of third party payment.


4. The defendant shall participate in a vocational raining and/or job placement program recommend by the U.S. Probation Officer.


5. The defendant shall provide the U.S. Probation Officer access to any financial information upon request.


6. The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. Section
1030(e)(1)), other electronic communications or date storage devices or media, or office, to a search conducted by a United States
Probation Officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn any other occupants
that the premises may be subject to searches pursuant to this condition.


7. The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer, pursuant to the
Revised DNA Collection Requirements, and Title 18, U.S. Code § 3563 (a)(9).
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          Sheet 5 — Criminal Monetary Penalties
                                                                                            Judgment — Page       4    of       4
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                                        CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                   Fine                                Restitution
TOTALS        $ 100.00                             $ Not imposed                                  $ Not Imposed
Assessment to be paid during the term of imprisonment.

□   The determination of restitution is deferred            . An Am ended Judgm ent in a Crim inal Case (AO 245C) will be entered
    after such determination.

□   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                          Total Loss*                       Restitution Ordered                  Priority or Percentage




TOTALS                          $                                   $


     Restitution amount ordered pursuant to plea
□    agreement $

□    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     □ the interest requirement is waived for          □ fine   □      restitution.

     □ the interest requirement for        □    fine    □   restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
